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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
 10                                      EASTERN DIVISION
 11

 12     ISMAEL VILLARREAL,                       Case No. 5:20-cv-01942-VBF-AFM
 13                         Plaintiff,
                                                  JUDGMENT
 14           v.
 15     RALPH DIAZ, et al.,
 16
                            Defendants.
 17

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 19          IT IS ORDERED AND ADJUDGED that the action is dismissed with
 20    prejudice for failure to state a claim.
 21

 22    DATED: September 27, 2021                       /s/ Valerie Baker Fairbank
 23                                               ______________________________
 24                                                 VALERIE BAKER FAIRBANK
                                                  UNITED STATES DISTRICT JUDGE
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